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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,       )                      8:13CR43
                                )
           Plaintiff,           )
                                )                      ORDER
v.                              )
                                )
JAMIE ANN UTTERBACH-VELENZUELA, )
                                )
           Defendant.           )



      UPON THE MOTION OF THE DEFENDANT, (#796) and no objection from the
government,

      IT IS ORDERED:

      1. The Motion to Continue Change of Plea Hearing (#796) is granted.

      2. The Change of Plea hearing is continued to August 4, 2016 at 1:30 p.m.
before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L.
Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha, Nebraska.

       3. For this defendant, the time between today’s date and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. 3161(h)(1).

      4. This is the final extension of time for a Change of Plea Hearing. No further
continuances will be granted.

      5. Since this is a criminal case, the defendant must be present.

      DATED this 30th day of June, 2016.

                                         BY THE COURT:


                                         s/ F.A. Gossett
                                         United States Magistrate Judge
